                           UNITED STATES DISTRICT COURT

                           DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA

      V.                                    CRIMINAL NO. 14-10363-RGS-11, 12

KATHY S. CHIN, MICHELLE L. THOMAS




           ORDER SETTING CRIMINAL CASE FOR JURY TRIAL

STEARNS, DJ.

      THE ABOVE-CAPTIONED CASE IS SCHEDULED FOR TRIAL IN COURTROOM #21

7th FLOOR, JOHN JOSEPH MOAKLEY UNITED STATES COURTHOUSE, BOSTON, MA

ON April 29, 2019 at 9:00 AM.

      ON OR BEFORE April 15, 2019 COUNSEL FOR THE PARTIES SHALL FILE,

JOINTLY OR SEPARATELY, THE FOLLOWING MATERIALS WITH THE COURT:

      (1)    ANY STIPULATED OR ADMITTED FACTS IN A FORM SUITABLE FOR
             PRESENTATION TO THE JURY;

      (2)    A LIST OF PROSPECTIVE GOVERNMENT WITNESSES, IDENTIFIED BY CITY
             OR TOWN OF RESIDENCE, OR BY AN INSTITUTIONAL ADDRESS, AND THE
             NAME OF THE CASE AGENT, IF ANY, WHO IS TO SIT AT GOVERNMENT
             COUNSEL TABLE;

      (3)    A LIST OF PROSPECTIVE ALIBI WITNESSES; A LIST OF ANY OTHER
             WITNESSES DEFENDANT WISHES BROUGHT TO THE ATTENTION OF THE
             JURY DURING VOIR DIRE, IDENTIFIED BY CITY OR TOWN OF RESIDENCE,
             OR BY AN INSTITUTIONAL ADDRESS;

      (4)    A STATEMENT OF THE QUALIFICATIONS OF ANY GOVERNMENT EXPERT WITNESS,
             AND ANY SUMMARY OF TESTIMONY PRODUCED PURSUANT TO FED. R. CRIM. P.
             16(a)(1)(E) AND ANY RECIPROCAL DISCLOSURE PRODUCED BY THE DEFENDANT
             PURSUANT TO FED. R. CRIM. P. 16(b)(1)©;

      (5)    A LIST OF GOVERNMENT EXHIBITS TO BE INTRODUCED AT TRIAL. THE EXHIBITS
             ARE TO BE PRE-MARKED IN A NUMERICAL SEQUENCE AND LABELED
             "GOVERNMENT EXHIBIT";
           (6)     A LIST OF DEFENSE EXHIBITS TO BE OFFERED AT TRIAL. THE EXHIBITS ARE TO
                   BE PRE-MARKED IN A NUMERICAL SEQUENCE AND LABELED "DEFENDANT
                   EXHIBIT";

           (7)     ANY MOTIONS IN LIMINE OR OTHER REQUESTS REGARDING FORESEEABLE
                   DISPUTES CONCERNING EVIDENTIARY ISSUES,
                   INCLUDING AUTHORITY FOR THE RULING REQUESTED;

           (8)     A TRIAL MEMORANDUM ADDRESSING THOSE MATTERS AS TO WHICH THERE ARE
                   FORESEEABLE DISPUTES CONCERNING ISSUES OF LAW;

           (9)     AN INFORMED ESTIMATE OF THE PROBABLE LENGTH OF THE TRIAL
                   BASED ON A TRIAL SCHEDULE OF 9:00 AM TO 4:00 PM ON THE DAY OF
                   EMPANELMENT AND 9:00 AM TO 1:00 PM THEREAFTER, UNTIL CLOSINGS;

           (10) REQUESTS FOR SUBSTANTIVE JURY INSTRUCTIONS WITH CITATION TO
                 SUPPORTING AUTHORITY; *

           (11) ANY PROPOSED QUESTIONS FOR THE VOIR DIRE EXAMINATION;

           (12) ANY REQUEST TO USE SPECIAL AUDIO-VISUAL OR OTHER
                ELECTRONIC EQUIPMENT DURING THE TRIAL.

           A FINAL PRE-TRIAL CONFERENCE WITH THE COURT WILL BE

HELD ON April 25, 2019 at 2:00 PM.

*Counsel need not submit boilerplate instructions; see Model Civil and Criminal Pattern Instructions on Court's
website.


           SO ORDERED.


                                                  RICHARD G. STEARNS
                                                  UNITED STATES DISTRICT JUDGE

                                 BY:
                                                 /s/ Timothy R. Maynard
                                                 Deputy Clerk

DATED: March 7, 2019



REVISED FEB 2014
